819 F.2d 1137Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.William Herman GLAZEBROOK, Plaintiff-Appellant,v.William P. ROGERS, Warden, et al., Defendant-Appellee.
    No. 87-6016.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 14, 1987.Decided May 21, 1987.
    
      Before HALL and SPROUSE, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      William H. Glazebrook, appellant pro se.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we deny leave to proceed in forma pauperis, dispense with oral argument and dismiss the appeal on the reasoning of the district court.  Glazebrook v. Rogers, C/A No. 86-1491-AM (E.D.Va., Jan. 29, 1987).
    
    
      2
      DISMISSED.
    
    